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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    DETROIT DIVISION

 CORA GOUDY,

      Plaintiff,                                   CASE NO.:

 v.

 CREDIT ACCEPTANCE CORPORATION,

      Defendant.
                                       /

                    COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW, Plaintiff, CORA GOUDY, by and through the undersigned

 counsel, and sues Defendant, CREDIT ACCEPTANCE CORPORATION, and in support

 thereof respectfully alleges violations of the Telephone Consumer Protection Act, 47

 U.S.C. § 227 et seq. (“TCPA”).

                                     INTRODUCTION

           1.      The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and to prevent abusive “robo-calls.”

           2.      “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

 (2012).

           3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably


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 intended to give telephone subscribers another option: telling the auto-dialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

        4.       According    to   the   Federal   Communications      Commission     (FCC),

 “Unwanted calls and texts are the number one complaint to the FCC.               There are

 thousands of complaints to the FCC every month on both telemarketing and robocalls.

 The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

 Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

 Wireless     Phones,   Federal    Communications      Commission,      (May    27,   2015),

 https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                              JURISDICTION AND VENUE

         5.      Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

         6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1256 (11th Cir. 2014).

         7.      Under 28 U.S.C. §1391(b)(1), venue is proper in this District as Defendant

 is headquartered within this District, in Oakland County, Michigan.




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                               FACTUAL ALLEGATIONS

        8.      Plaintiff is a natural person, and citizen of the State of Mississippi,

 residing in Covington County, Mississippi.

        9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

        10.     Defendant is a corporate entity with its principal place of business located

 at 25505 West Twelve Mile Road, Southfield, Michigan, 48034, has a registered agent,

 CSC-Lawyers Incorporating Service (Company), located in Michigan at 601 Abbot Road,

 East Lansing, Michigan 48823, and which conducts business within the State of

 Mississippi.

        11.     Upon information and belief, some or all of the calls Defendant made to

 Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

 system” which has the capacity to store or produce telephone numbers to be called, using

 a random or sequential number generator (including but not limited to a predictive dialer)

 or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that she knew it was an

 auto-dialer because of the vast number of calls she received and because she heard a

 pause when she answered her telephone before a voice came on the line and she received

 prerecorded messages from Defendant.

        12.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (601) ***-1347, and was the called party and recipient of Defendant’s calls.



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        13.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

 cellular telephone (601) ***-1347 in an attempt to collect on an auto loan.

        14.     Defendant called Plaintiff approximately two hundred times (200) in an

 attempt to collect an alleged debt.

        15.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

 the calls were being initiated from, but not limited to, the following telephone number:

 (734) 521-2062; (517) 338-1003; (586) 461-1004; (586) 461-1005; (734) 742-1035;

 (517) 338-1001; (800) 235-7682; (844) 262-2754; and (800) 716-7376.

        16.     On several occasions over the last four (4) years, Plaintiff instructed

 Defendant’s agent(s) to stop calling her cellular telephone.

        17.     In or about December 2014, Plaintiff answered a call from Defendant to

 her aforementioned cellular telephone number. Plaintiff spoke to an agent/representative

 of Defendant and informed the agent/representative that the calls to her cellular telephone

 were harassing and demanded that they cease calling her cellular telephone number

 immediately.

        18.     Defendant intentionally, knowingly and willfully harassed and abused

 Plaintiff on numerous occasions by calling Plaintiff’s cellular telephone, within the last

 four years, with such frequency as can reasonably be expected to harass and in effort to

 collect upon an alleged debt.

        19.     Despite clearly and unequivocally revoking any consent Defendant may

 have believed they had to call Plaintiff on her cellular telephone, Defendant continues to

 place automated calls to Plaintiff.



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         20.    Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

 cellular telephone in this case.

         21.    Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

 telephone in this case, with no way for the consumer, or Defendant, to remove the

 number.

         22.    Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff, despite these individuals explaining to Defendant they do not

 wish to be called.

         23.    Defendant has numerous other federal lawsuits pending against them

 alleging similar violations as stated in this Complaint.

         24.    Defendant has numerous complaints against it across the country asserting

 that its automatic telephone dialing system continues to call despite being requested to

 stop.

         25.    Defendant has had numerous complaints against it from consumers across

 the country asking to not be called, however Defendant continues to call these

 individuals.

         26.    Defendant’s corporate policy provided no means for Plaintiff to have

 Plaintiff’s number removed from Defendant call list.

         27.    Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.



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         28.    Not one of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         29.    Defendant willfully and knowingly violated the TCPA with respect to

 Plaintiff.

         30.    From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

 intrusion upon her right of seclusion.

         31.    From each and every call without express consent placed by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

 telephone line and cellular telephone by unwelcome calls, making the telephone

 unavailable for legitimate callers or outgoing calls while the telephone was ringing from

 Defendant call.

         32.    From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

 her time. For calls she answered, the time she spent on the call was unnecessary as she

 repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

 time to unlock the telephone and deal with missed call notifications and call logs that

 reflect the unwanted calls. This also impaired the usefulness of these features of

 Plaintiff’s cellular telephone, which are designed to inform the user of important missed

 communications.

         33.    Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to the



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 Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

 answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

 telephone and deal with missed call notifications and call logs that reflected the unwanted

 calls. This also impaired the usefulness of these features of Plaintiff’s cellular telephone,

 which are designed to inform the user of important missed communications.

         34.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

 Plaintiff’s cellular telephone’s battery power.

         35.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone where a voice message was left which occupied space in

 Plaintiff’s telephone or network.

         36.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

 namely her cellular telephone and her cellular telephone services.

         37.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

 nervousness, embarrassment, distress and aggravation.

                                          COUNT I
                                   (Violation of the TCPA)

         38.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through thirty

 seven (37) as if fully set forth herein.




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        39.     Defendant willfully violated the TCPA with respect to Plaintiff,

 specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

 Plaintiff notified Defendant that Plaintiff wished for the calls to stop

        40.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial

 voice without Plaintiff’s prior express consent in violation of federal law, including 47

 U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against CREDIT ACCEPTANCE CORPORATION for statutory

 damages, punitive damages, actual damages, treble damages, enjoinder from further

 violations of these parts and any other such relief the court may deem just and proper.

                                                Respectfully submitted,

                                                   /s/Octavio Gomez
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